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                                                                                                                    Escrow
                                                                                                           Disclosure Letter
                                                                                       Account Number
                                                                        Present Loan
                                                                        Information:   Paid To Date                            06/01/2020
  Borrower:             Wesley L. Smith                                                Principal Balance                       $87,465.18
                        Cheryl Smith                                                   Note Rate                                     10.250%
                        18474 Indiana Street                                                                                         $974.73
                                                                                       Regular Payment
                        Detroit, MI 48221
                                                                                       Escrow Payment                                $330.74
                                                                                       Suspense Payment                                $0.00
                                                                                       Other Payments                                  $0.00
                                                                                       Suspense Balance                              $208.50
  Property Address:    18474 Indiana Street
                                                                                       Escrow Balance                                $125.70
                       Detroit, MI 48221
                                                                                       Unpaid Interest                                 $0.00
                                                                                       Unpaid Charges                                  $0.00

Dear Wesley L. Smith
Cheryl Smith:

Enclosed is your Escrow Disclosure Statement and notice of new mortgage payment for your loan. At least once a year, FCI reviews your
escrow account to determine if the current monthly payment amounts are sufficient to cover your projected taxes and/or insurance
premiums. Increases or decreases in your annual tax and/or insurance amounts may cause your monthly payment to change. The first
section of the Statement projects activity for the upcoming 12 months as well as any changes to your monthly payment. Prior Year Escrow
Payment Activity on the Statement reflects activity on your escrow account from October 2019 through September 2020. Payments are
shown in the month received, which may not necessarily be the month due. The Statement assumes timely receipt of payments and
scheduled disbursements through September 30, 2021.

Target Balance: A Target Balance means the estimated month-end balance in an escrow account that is just sufficient to cover the
remaining disbursements from the escrow account for the remainder of the 12-month period that are required to cover annual taxes,
insurance, or other escrow items.

Surplus: A Surplus is the amount by which a current escrow balance exceeds the target balance for the 12-month period for the escrow
account. Required refunds, due to a Surplus, will be mailed within 30 days or per applicable State law. Tax bills other than the annual
secured bill are your responsibility to pay. Before spending your refund, you should check with your local Tax Collector and/or the
Assessor’s Office to determine if a Supplemental Tax Bill is pending or expected to be issued.

Shortage: A Shortage is the amount by which a current escrow account balance falls short of the target balance at the time of the escrow
analysis. Some reasons for the shortage include deficiency of total payments received or increases in tax and/or insurance amount during
the projection year. If you choose to pay the escrow shortage in full rather than have it collected over 12 months, your new monthly
payment can be calculated by subtracting the shortage from the new payment information section on the second page of this analysis.
Your check for the lump sum payment and request should be submitted directly to FCI Lender Services, Inc. Attn: Escrow Department at
the address listed below.

Deficiency: A Deficiency is the amount by which a current escrow balance becomes negative. This occurs when the Servicer advances
funds to pay an escrow item.

Please take the time to review this Statement prior to the changes taking place. Changes to your monthly payment, as indicated in your
Statement, will be reflected on your October 2020 billing statement. If you are using an automatic payment provider, please notify them of
the change in your payment amount to avoid possible late fees.

If you have any questions regarding this Statement, please call our toll free number at 800-931-2424, Ext. 651, Monday through Friday
between the hours of 8:00 a.m. and 5:00 p.m. Pacific Time or visit our website www.trustfci.com at any time. When calling, please
reference your loan number so that we may better serve you.

Regards,
Customer Service Department
FCI Lender Services, Inc.
  Account:                                 Statement Date: 08-24-2020
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           FCI Lender Services, Inc. * PO Box 27370 * Anaheim * CA 92809-0112 * NMLS # 4920 * CA DRE # 01022780 * www.trustfci.com
                                                                                                                                 Escrow
                                                                                                                   Disclosure Statement

                            SUMMARY                                                                   NEW PAYMENT INFORMATION AS OF 10/1/2020
Total Projected Payments from Escrow                                 $3,268.47
Divide by # of Months in Statement Period                                                   Principal & Interest                                  $974.73
                                                                              12
Equals Monthly Projected Payments to Escrow                              $272.37            Escrow Payment                                        $272.38

                                                                                            Shortage Payment                                        $0.00
Target Balance = Projected Payments to Escrow                        $3,813.32
+ 2 extra month cushion                                                                     Surplus                                                ($2.37)

                                                                                            Deficiency Payment                                      $0.00
Starting Projected Balance (+)                                       $1,117.92
                                                                                            Suspense Payment                                        $0.00
Starting Required Balance (-)                                        $1,089.43
                                                                                            Other Payments                                          $0.00
Delinquency Vouchers (-)                                                   $0.00            New Payment Amount                                  $1,244.74

Your account is showing a surplus                                         $28.49            New Payment Date                                   10/01/2020
(see Letter for more information regarding surplus)
Surplus divided by 12 months                                              ($2.37)

P&I:         $974.73 New Escrow:           $270.01 New Payment:      $1,244.74

IMPORTANT NOTE: It is our goal to provide you with accurate escrow information. If your loan account is delinquent, this analysis may
not include current escrow information and may not accurately reflect your projected escrow activity. Please inform this office
immediately of your current tax and insurance information by calling 800-931-2424 in order to re-establish your escrow account.
Insurance information may not be calculated into this analysis if the information was not provided to the Servicer. Please note, once
annual insurance premium information has been provided, the payment must be re-projected.

Below are the escrow items we anticipate we will collect for or pay on your behalf in the upcoming 12-month period. The dollar amount
shown may be the last amount actually paid for that item or may project the next amount due as defined by Federal Law. Based on
these anticipated disbursements, the amount of your escrow deposit is calculated and displayed below.

                                           ESCROW ACCOUNT PROJECTIONS FOR COMING YEAR
                                Payments to Escrow          Payments
Month - Year                                                              Description                                        Escrow Account Balance
                            Escrow          Surplus       from Escrow                                                          Projected        Required

                                                                         Required Deposit                                     $1,117.92       $1,089.43
October-2020                     $272.38        ($2.37)          $0.00                                                        $1,387.93       $1,361.81
November-2020                    $272.38        ($2.37)          $0.00                                                        $1,657.94       $1,634.19
December-2020                    $272.38        ($2.37)        $135.80 City of Detroit                                        $1,792.15       $1,770.77
January-2021                     $272.38        ($2.37)          $0.00                                                        $2,062.16       $2,043.15
February-2021                    $272.38        ($2.37)          $0.00                                                        $2,332.17       $2,315.53
March-2021                       $272.38        ($2.37)          $0.00                                                        $2,602.18       $2,587.91
April-2021                       $272.38        ($2.37)          $0.00                                                        $2,872.19       $2,860.29
May-2021                         $272.38        ($2.37)          $0.00                                                        $3,142.20       $3,132.67
June-2021                        $272.38        ($2.37)          $0.00                                                        $3,412.21       $3,405.05
July-2021                        $272.38        ($2.37)      $3,132.67 $1,127.76 - City of Detroit                              $549.55         $544.76    *
                                                                       $2,004.91 - USAA
August-2021                      $272.38        ($2.37)          $0.00                                                          $819.56         $817.14
September-2021                   $272.38        ($2.37)          $0.00                                                        $1,089.57       $1,089.52

       Total:               $3,268.56         ($28.44)      $3,268.47




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 * This is your Low Point. The Low Point is zero plus the allowed reserve as guided by the Real Estate Settlement Procedures Act
(RESPA). Reserve amount by Federal Law (RESPA) is two times your monthly Escrow Payment, unless State Law specifies a lower
amount.

Your anticipated low point may or may not have been reached based on one or more of the following common factors:

PAYMENT(S)                                    TAXES                                        INSURANCE

· Monthly payment(s) were received less       · Tax rate and/or assessed value changed     · Premium changed
 than OR greater than expected                · Exemption status lost or changed           · Coverage changed
· Monthly payment(s) were received earlier    · Supplemental/Delinquent tax paid           · Additional premium paid
 OR later than expected                       · Tax bill paid earlier OR later than        · Insurance bill paid earlier OR later than
· Previous overage was returned to escrow     expected                                     expected
· Previous deficiency/shortage not paid       · Tax installment not paid                   · Premium was not paid
 entirely                                     · Tax refund received                        · Premium refund received
                                              · New tax escrow requirement paid            · New insurance escrow requirement paid


In the event that a Deficiency was identified in the Summary section of your Statement, the above list of common factors, may or may not
have contributed to this deficiency.




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         FCI Lender Services, Inc. * PO Box 27370 * Anaheim * CA 92809-0112 * NMLS # 4920 * CA DRE # 01022780 * www.trustfci.com
 The following statement of activity in your escrow account from October 2019 to September 2020 displays actual activity as it occurred
 in your escrow account during that period.

                             PRIOR YEAR ESCROW PAYMENT ACTIVITY October 2019 - September 2020
Month - Year           Payments to Escrow     Payments from Escrow Description                                           Escrow Account Balance

October-2019                      $2,292.61                  $0.00 Wesley L. Smith                                                       ($243.97)
November-2019                       $330.74                  $0.00 Wesley L. Smith                                                         $86.77
November-2019                       $330.74                  $0.00 Wesley L. Smith                                                       $417.51
November-2019                       $330.74                  $0.00 Wesley L. Smith                                                       $748.25
December-2019                       $330.74                  $0.00 Wesley L. Smith                                                   $1,078.99
December-2019                       $330.74                  $0.00 Wesley L. Smith                                                   $1,409.73
December-2019                         $0.00               $135.80 City of Detroit                                                    $1,273.93
January-2020                        $330.74                  $0.00 Wesley L. Smith                                                   $1,604.67
February-2020                       $330.74                  $0.00 Wesley L. Smith                                                   $1,935.41
March-2020                            $0.00                  $0.00                                                                   $1,935.41
April-2020                          $330.74                  $0.00 Wesley L. Smith                                                   $2,266.15
May-2020                            $330.74                  $0.00 Wesley L. Smith                                                   $2,596.89
May-2020                            $330.74                  $0.00 Wesley L. Smith                                                   $2,927.63
June-2020                           $330.74                  $0.00 Wesley L. Smith                                                   $3,258.37
July-2020                             $0.00              $1,127.76 City of Detroit                                                   $2,130.61
August-2020                           $0.00              $2,004.91 USAA                                                                  $125.70
September-2020                        $0.00                  $0.00                                                                       $125.70

Total:                           $5,930.75              $3,268.47




                       Note: FCI Lender Services, Inc. is a debt collector and is attempting to collect a debt.
                                     Any information obtained will be used for that purpose.
IF YOU OR YOUR ACCOUNT ARE SUBJECT TO PENDING BANKRUPTCY PROCEEDINGS, OR IF YOU HAVE RECEIVED A BANKRUPTCY
DISCHARGE, THIS LETTER IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT AN ATTEMPT TO COLLECT A DEBT. Please see
IMPORTANT DISCLOSURES enclosed.


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                                               IMPORTANT DISCLOSURES

FCI Lender Services, Inc. (“FCI”) is committed to professional and courteous service to our
customers. Our Customer Service Department is an experienced group of men and women who are
trained and dedicated to answering your questions, addressing your concerns, and resolving any and
all issues to your satisfaction. If you have any complaints, please call us during our regular business
hours at (800) 931-2424 ext. 651, Mon - Fri, 8:00 a.m. - 5:00 p.m., PT.

OREGON CONSUMERS ONLY: The Director of the Department of Consumer and Business Services
prescribes by rule. Residential mortgage loan servicers are regulated by the Oregon Division of
Financial Regulation. To file a complaint, call (888) 877-4894 or visit http://dfr.oregon.gov. You can
also submit a completed form complaint by email to dcbs.dfcsmail@oregon.gov, by mail to PO Box
14480 Salem, OR 97309-0405, or by fax to 503-947-7862.

PENNSYLVANIA CONSUMERS ONLY: The lender retains a security interest in your residential real
estate whenever the security interest has not been released.

COLORADO CONSUMERS ONLY: FCI Lender Services, Inc.’s Agent in Colorado is Cogency Global
Inc., 7700 E. Arapahoe Road, Suite 220, Centennial, Colorado 80112; PH: 303-309-3839.

TEXAS CONSUMERS ONLY: COMPLAINTS REGARDING THE SERVICING OF YOUR MORTGAGE
SHOULD BE SENT TO THE DEPARTMENT OF SAVINGS AND MORTGAGE LENDING, 2601 NORTH
LAMAR, SUITE 201, AUSTIN, TX 78705. A TOLL-FREE CONSUMER HOTLINE IS AVAILABLE AT
877-276-5550. A complaint form and instructions may be downloaded and printed from the
Department’s website located at www.sml.texas.gov or obtained from the department upon request
by mail at the address above, by telephone at its toll-free consumer hotline listed above, or by email
at smlinfo@sml.texas.gov.

MASSACHUSETTS CONSUMERS ONLY: NOTICE OF IMPORTANT RIGHTS YOU HAVE THE RIGHT
TO MAKE A WRITTEN OR ORAL REQUEST THAT TELEPHONE CALLS REGARDING YOUR DEBT NOT BE
MADE TO YOU AT YOUR PLACE OF EMPLOYMENT. ANY SUCH ORAL REQUEST WILL BE VALID FOR
ONLY TEN DAYS UNLESS YOU PROVIDE WRITTEN CONFIRMATION OF THE REQUEST POSTMARKED
OR DELIVERED WITHIN SEVEN DAYS OF SUCH REQUEST. YOU MAY TERMINATE THIS REQUEST BY
WRITING TO THE CREDITOR.

NEW YORK CONSUMERS ONLY: FCI Lender Services, Inc. (“FCI”) is registered with the
Superintendent of the New York State Department of Financial Services (NMLS #4920). You may
obtain information about how to file a complaint about FCI with the New York State Department of
Financial Services, by visiting the Department’s website at www.dfs.ny.gov or by calling the
Department at 800-342-3736.


IMPORTANT NOTICE: IF YOU OR YOUR ACCOUNT ARE SUBJECT TO PENDING
BANKRUPTCY PROCEEDINGS, OR IF YOU RECEIVED A BANKRUPTCY DISCHARGE ON THIS
DEBT, THIS STATEMENT IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT AN
ATTEMPT TO COLLECT A DEBT. IF YOU ARE NOT IN BANKRUPTCY OR DISCHARGED OF
THIS DEBT, BE ADVISED THAT FCI IS A DEBT COLLECTOR AND IS ATTEMPTING TO
COLLECT A DEBT. ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.




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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                  DETROIT DIVISION

 In Re:                                          Case No. 19-50767-pjs

 Wesley L. Smith                                 Chapter 13

 Debtor.                                         Judge Phillip J. Shefferly

                                      PROOF OF SERVICE

       The undersigned does hereby certify that a copy of the Notice of Mortgage Payment
Change has been duly electronically serviced, noticed or mailed via U.S. First Class Mail,
postage prepaid on September 10, 2020 to the following:

          Wesley L. Smith, Debtor
          18474 Indiana St.
          Detroit, MI 48221

          Brian J. Small, Debtor’s Counsel
          bankruptcy@thavgross.com

          David Wm. Ruskin, Trustee
          ecf-emails@det13.com

          United States Trustee’s Office
          (registeredaddress)@usdoj.gov

                                                 Respectfully Submitted,

                                                 /s/ Molly Slutsky Simons
                                                 Molly Slutsky Simons (OH 0083702)
                                                 Sottile & Barile, Attorneys at Law
                                                 394 Wards Corner Road, Suite 180
                                                 Loveland, OH 45140
                                                 Phone: 513.444.4100
                                                 Email: bankruptcy@sottileandbarile.com
                                                 Attorney for Creditor




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